Case 24-50346-grs   Doc 99-1 Filed 05/20/24 Entered 05/20/24 17:01:41   Desc
                           Exhibit A Page 1 of 17




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Case 24-50346-grs   Doc 99-1 Filed 05/20/24 Entered 05/20/24 17:01:41   Desc
                           Exhibit A Page 2 of 17
Case 24-50346-grs   Doc 99-1 Filed 05/20/24 Entered 05/20/24 17:01:41   Desc
                           Exhibit A Page 3 of 17
Case 24-50346-grs   Doc 99-1 Filed 05/20/24 Entered 05/20/24 17:01:41   Desc
                           Exhibit A Page 4 of 17
Case 24-50346-grs   Doc 99-1 Filed 05/20/24 Entered 05/20/24 17:01:41   Desc
                           Exhibit A Page 5 of 17
Case 24-50346-grs   Doc 99-1 Filed 05/20/24 Entered 05/20/24 17:01:41   Desc
                           Exhibit A Page 6 of 17
Case 24-50346-grs   Doc 99-1 Filed 05/20/24 Entered 05/20/24 17:01:41   Desc
                           Exhibit A Page 7 of 17
Case 24-50346-grs   Doc 99-1 Filed 05/20/24 Entered 05/20/24 17:01:41   Desc
                           Exhibit A Page 8 of 17
Case 24-50346-grs   Doc 99-1 Filed 05/20/24 Entered 05/20/24 17:01:41   Desc
                           Exhibit A Page 9 of 17
Case 24-50346-grs   Doc 99-1 Filed 05/20/24 Entered 05/20/24 17:01:41   Desc
                           Exhibit A Page 10 of 17
Case 24-50346-grs   Doc 99-1 Filed 05/20/24 Entered 05/20/24 17:01:41   Desc
                           Exhibit A Page 11 of 17
Case 24-50346-grs   Doc 99-1 Filed 05/20/24 Entered 05/20/24 17:01:41   Desc
                           Exhibit A Page 12 of 17
Case 24-50346-grs   Doc 99-1 Filed 05/20/24 Entered 05/20/24 17:01:41   Desc
                           Exhibit A Page 13 of 17
Case 24-50346-grs   Doc 99-1 Filed 05/20/24 Entered 05/20/24 17:01:41   Desc
                           Exhibit A Page 14 of 17
Case 24-50346-grs   Doc 99-1 Filed 05/20/24 Entered 05/20/24 17:01:41   Desc
                           Exhibit A Page 15 of 17
Case 24-50346-grs   Doc 99-1 Filed 05/20/24 Entered 05/20/24 17:01:41   Desc
                           Exhibit A Page 16 of 17
Case 24-50346-grs   Doc 99-1 Filed 05/20/24 Entered 05/20/24 17:01:41   Desc
                           Exhibit A Page 17 of 17
